 USCA11 Case: 21-13608    Document: 5    Date Filed: 11/05/2021   Page: 1 of 3




                           CASE NO. 21-13608

  _____________________________________________________________

           IN THE UNITED STATES COURT OF APPEALS

                  FOR THE ELEVENTH CIRCUIT

                           JAMMIE PARKER

                                               Plaintiff/Appellee,

                                    v.

                             TERI GALARDI

                                               Defendant/Appellant.

ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
             SOUTHERN DISTRICT OF FLORIDA


   CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
       DISCLOSURE STATEMENT OF THE APPELLANT
                     JAMMIE PARKER


                         THOMAS JOHN BUTLER
                               SUITE 235
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                    ATTORNEY FOR APPELLANT




                                    1
   USCA11 Case: 21-13608            Document: 5       Date Filed: 11/05/2021        Page: 2 of 3


                       CERTIFICATE OF INTERESTED PERSONS
                      AND CORPORATE DISCLOSURE STATEMENT

                                 Jammie Parker vs. Teri Galardi
                                     Case No.: 21-13608

       Appellant, Cedric Brown, files this Certificate of Interested Persons and Corporate

Disclosure Statement, listing the parties and entities interested in this appeal, as required by 11 th

Cir. R. 26.1.

Ameera Brewer

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Jammie Parker

Tiffany Thompson

Gerald Tobin, Esq.

United States District Judge Aileen M. Cannon

United States Magistrate Judge Alicia M. Otazo-Reyes

Marleka Williams



                                                  2
  USCA11 Case: 21-13608         Document: 5        Date Filed: 11/05/2021    Page: 3 of 3


Shakir Williams

                              CERTIFICATE OF SERVICE

   I hereby certify that the foregoing was filed this 5th day of November 2021 using CM/ECF

and served via CM/ECF to appellee’s counsel.

                                                   /s/Thomas J. Butler
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                                               3
